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                            IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA                           Criminal no. 20-063 (PAD)
   Plaintiff,
                v.

 HENRY JOSE SEGUARA SALINA
   Defendant.
                        MOTION FOR FRYE HEARING

TO THE HONORABLE COURT:

       Comes now the defendant, Mr. Henry J. Seguara Salina, and respectfully states and prays as

follows:

   1. As the Court is aware, the Government has extended its final offer.

   2. A co-defendant meeting was held at MDC on X, and after discussing the particulars of this

       case, a counteroffer was presented to the government to resolve this matter forthwith.

   3. The Government informed the defendant that it was rejecting the counteroffer but was still

       keeping the offer available if the defendant was interested.

   4. At the latest status conference, the undersigned informed the Court that Mr. Seguara Salina

       was not accepting nor rejecting the government's offer, and was not informing if he wanted

       to proceed or not to trial. (See Docket Entry #108)

   5. The undersigned requests that the Court schedules an in-person Frye hearing to discuss on

       the record with Mr. Seguara Salina the particulars of the plea agreement and ensure that Mr.

       Seguara Salina understands its terms.

       WHEREFORE, Mr. Segura Salina respectfully requests that this motion is granted and that

the Court sets a Frye hearing.

RESPECTFULLY SUBMITTED.

       In San Juan, Puerto Rico, this 17th day of May 2022.
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          I HEREBY CERTIFY, that on this date the present document has been filed electronically

and is available for viewing and downloading from the Court’s CFM/ECF system by U.S. Attorney’s

Office.

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